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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

                Plaintiff,
                                             CASE NO. CR-18-00258-BLW
 vs.

 PAVEL BABICHENKO,                           DEFENDANT’S MOTION IN
 PIOTR BABICHENKO,                           LIMINE (WRITTEN OBJECTION TO
 TIMOFEY BABICHENKO,                         GOVERNMENT’S
 KRISTINA BABICHENKO,                        DEMONSTRATIVE TRIAL
 DAVID BIBIKOV,                              EXHIBIT)
 ANNA IYERUSALIMENTS,
 MIKHAIL IYERUSALIMETS,

                Defendants.




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         The Defendants1 move to exclude the Government’s use of packaging for an I-

Phone 11 as a demonstrative exhibit in trial 2.

    I.      Statement of Facts

            In trial 1 the Government sought to introduce a demonstrative exhibit in the

form of packaging from an I Phone 11.2 The Government planned to use trial witness,

Leah Caras to testify as to the quality of the plastic wrap and box as comparable to

products being considered in this case.

            Three attorneys for the defense objected. Ellen Smith, on behalf of Mikhail

Iyerusalimets, Rob Lewis on behalf of Timofey Babichenko and Melissa Winberg on

behalf of Anna Iyerusalimets. Ms. Smith argued its disclosure was untimely, it lacked

foundation, and was irrelevant and prejudicial to her client’s right to a fair trial, because

it caused confusion, mislead the jury and wasted time. (Trial Transcript P. 2533, L. 14-

17) Mr. Lewis incorporated Ms. Smith’s argument regarding his allegation contemplating

a clamshell container versus a box. Ms. Winberg included a continuing objection that

packaging was uncharged and represented a variance from the charging instrument. 3

            The District Court reasoned the evidence was inadmissible “primarily because

of the late disclosure” (Trial Transcript P. 2537, Line 1) It continued the analysis




1
   This motion is filed on behalf of Pavel Babichenko, Piotr Babichenko, Timofey
Babichenko, Kristina Babichenko, David Bibikov, Anna Iyerusalimets, and Mikhail
Iyerusalimets (collectively the “Defendants”).
2
  See Trial Transcript Day 16, July 20, 2021, Page 2532.
3
 See Defense Objection To Jury Instructions, Dkt. 879 Page 5
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explaining it would require a “stretch or inference” that the box and packaging for the I

phone 11 was basically the same as the box and packaging of earlier model I-phones.

   II.      Argument

         The defense argues the demonstrative exhibit is not relevant evidence under F.R.E.

401. The defense argues if offered it would unfairly prejudice the accused’s right to a fair

trial under F.R.E. 403. Further it is improper under F.R.E. 611(a) in that it makes the

presentation of evidence ineffective for determining the truth and wastes time.




                DATED: March 28, 2022.




                                              s/ John DeFranco
                                              s/ Barry Flegenheimer
                                              Attorneys for Paul Babichenko




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                             CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2022 I filed the foregoing electronically through
the CM/ECF system, which caused the parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:

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                                            /s/ Melisa Wong




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